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                        Hearing on motions will be held on 2/27/06 at 2:00 p.m.
         1/10/06



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